CNNESSe
                         TENNESSEE WILDLIFE RESOURCES AGENCY
                                        ELLINGTON AGRICULTURAL CENTER
                                              5107 EDMONDSON PIKE
                                           NASHVILLE, TENNESSEE 37211



 HAND DELIVERED
 MEMORANDUM


 TO:            James Kelly, Wildlife Biologist 3, Empl
                                                          ID: 00474436
 FROM:          Jason Maxedon, Wildlife Resources Executive
                                                                Director
 DATE:          September 6, 2022

 SUBJECT:       Discretionary Leave with Pay

 This memorandumserves to inform you that you are being placed on
                                                                    Discretionary
 Leave with Pay effective today, September6, 2022. You are being placed on leave
 pending the outcome of an internal investigation.

 During this investigation, you are not to report for duty or to attend any agency
                                                                                   ftnctions.
 You are expected to be available should your supervisor need to contact you. You are to
 turn in all of your equipment including but not limited to agency and vehicle keys; your
 badge; your State cell phone; your computer equipment; work related external drives; and
 any other equipment assigned to you for the purpose of conducting your job duties.

 If you have any questions or need additional information,you may contact Human
 Resources Chief, Randi S. Tarpy, at 615-781-6605.


 I verify by my signature below that I have received a copy of this memorandum.



 Employee Signature                                                   Date




 JM/rst




                                The State of Tennessee
    Case 3:23-cv-00939      Document
                 AN EQUAL OPPORTUNITY.    1-5ACCESS.
                                       EQUAL     Filed   09/01/23
                                                     AFFIRMATIVE ACTION Page            EXHIBIT
                                                                              1 of 1 PageID
                                                                        EMPLOYER            #: 615
